                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:13 CR 15


UNITED STATES OF AMERICA,                    )
                                             )
      Plaintiff                              )
                                             )
      V                                      )              ORDER
                                             )
WALTER CALE STANCIL,                         )
                                             )
      Defendant.                             )


      THIS MATTER is before the court on Jack W. Stewart’s Application for

Admission to Practice Pro Hac Vice of Jeffrey H. Brickman. It appearing that

Jeffrey H. Brickman is a member in good standing with the Georgia State Bar and

will be appearing with Jack W. Stewart, a member in good standing with the Bar of

this court, that all admission fees have been paid, and that the email address of the

attorney seeking admission has been provided, the court enters the following

Order.

                                      ORDER

      IT IS, THEREFORE, ORDERED that Jack W. Stewart’s Application for

Admission to Practice Pro Hac Vice (#31) of Jeffrey H. Brickman is GRANTED,




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and that Jeffrey H. Brickman is ADMITTED to practice, pro hac vice, before the

Bar of this court while associated with Jack W. Stewart.



                                              Signed: July 2, 2013




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